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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 DONNA CURLING, et al.,                      :
                                             :
                                             :
        Plaintiffs,                          :
                                             :
 v.                                          :          CIVIL ACTION NO.
                                             :          1:17-cv-2989-AT
 BRAD RAFFENSPERGER, et al.,                 :
                                             :
                                             :
        Defendants.                          :

                                        ORDER

       This matter is before the Court on the Coalition Plaintiffs’ request for injunctive

relief related to scanner settings for tabulating hand-marked absentee, provisional, and

emergency ballots in connection with the January 5, 2021 runoff election [Doc. 990].

Although the Court previously indicated it would potentially consider a remedy in

connection with any runoff election scheduled in January, the Court will defer

consideration of Plaintiffs’ request until after certification of the January 5, 2021 runoff

election. It is understandable that Plaintiffs seek a remedy here as soon as possible – and

in time for the runoffs. But the non-stop demands that have been placed on the Secretary

of State’s Office and counties in the past month in connection with concluding the

November general election count, audit, and recount, as well as preparing for the runoffs

are far too great for the Court to consider relief issues that would require work and

discussion prior to completion of the entire runoff cycle. So, further consideration of

Plaintiffs’ requested relief is DEFERRED until after the completion of the January 5,

2021 runoff election.
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IT IS SO ORDERED this 2nd day of December, 2020.



                             _____________________________
                             Amy Totenberg
                             United States District Judge




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